                        UNITED STATES DISTRICT COURT
                      FOR EASTERN DISTRICT OF TENNESSEE
                             KNOXVILLE DIVISION

FIRST CALL ENVIRONMENTAL, LLC,                   )
                                                 )
       Plaintiff,                                )
                                                 )
v.                                               )      Case No. 3:21-cv-168
                                                 )
SILVER PHOENIX, LLC, PYROPURE, INC.,             )      JURY DEMAND
and PHALANX REAL ESTATE, LLC,                    )
                                                 )
       Defendants.                               )


                     SECOND AMENDED SCHEDULING ORDER

       Pursuant to the Court’s order granting the parties’ Joint Motion for Continuance

[Doc. 65], the Court hereby AMENDS the following deadlines as follows:

           ACTION                   FIRST AMENDED              SECOND AMENDED
                                    DEADLINE                   DEADLINE
 Plaintiff’s disclosure of expert January 31, 2023            September 5, 2023
 testimony
 Defendants’ disclosure of February 28, 2023                  October 3, 2023
 expert testimony
 Daubert Motions                  March 23, 2023              December 26, 2023
 Rule       26(a)(3)     Pretrial April 20, 2023              March 1, 2024
 Disclosures
 Counter-designations to pre- April 20, 2023                 March 8, 2024
 trial disclosures
 Discovery Completion             April 6, 2023               November 14, 2023
 Motions to Compel                March 23, 2023              November 21, 2023
 File Agreed pretrial order       April 6, 2023               March 28, 2024
 Plaintiff’s counsel shall serve March 23, 2023               February 16, 2024
 opposing counsel with a
 proposed pretrial order
 Notify Judicial Assistant if April 6, 2023                   March 28, 2024
 parties cannot agree to pretrial
 order




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Pretrial conference            June 27, 2023 at 1:30 pm        April 2, 2024 at 1:30pm
Joinder of Parties             March 31, 2023                  September 26, 2023
Dispositive Motions            May 8, 2023                     December 26, 2023
Motion in Limine               June 6, 2023                    March 15, 2024
Response to Motion in Limine   June 20, 2023                   March 29, 2024
Special requests for jury      June 20, 2023                   April 5, 2024
instructions
Response to Special requests   June 26, 2023                   April 12, 2024
for jury instructions
Witness lists                  June 20, 2023                   March 1, 2024
Trial (4 days)                 July 22, 2023 at 9:00am         April 16, 2024 at 9:00am



  IT IS SO ORDERED.



                                         ENTER:



                                         Jill
                                         Jill E.
                                              E. McCook
                                           United  StatesMagistrate
                                         United States    MagistrateJudge
                                                                      Judge




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